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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )
                                      )     CRIMINAL ACTION NO.
    v.                                )        2:12cr59-MHT
                                      )            (WO)
ANGELIQUE DJONRET and                 )
TABITHA STINSON                       )

                        OPINION AND ORDER

    This cause is before the court on defendant Tabitha

Stinson’s unopposed motion to continue her trial.                       The

trial is currently set for January 14, 2013.                   For the

reasons   set   forth    below,    the    court    finds    that    jury

selection and trial for both Stinson and co-defendant

Angelique Djonret should be continued to May 20, 2013,

pursuant to 18 U.S.C. § 3161(h)(7)(A).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.       The Act provides in part:
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           "In any case in which a plea of not
           guilty is entered, the trial of a
           defendant charged in an information or
           indictment with the commission of an
           offense shall commence within seventy
           days from the filing date (and making
           public)    of   the    information    or
           indictment, or from the date the
           defendant has appeared before a judicial
           officer of the court in which such
           charge is pending, whichever date last
           occurs."

Id. § 3161(c)(1).                The Act excludes from the 70-day

period any continuance based on "findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial."          §    3161(h)(7)(A).               In    granting       such    a

continuance,         the    court       shall    consider,          among   other

factors, whether the failure to grant the continuance

would     “result           in      a     miscarriage          of      justice,”

§   3161(h)(7)(B)(i),             or    "would   deny        counsel    for    the

defendant     or      the        attorney    for    the       Government       the

reasonable       time      necessary      for    effective          preparation,

taking    into       account      the    exercise       of   due    diligence."

§ 3161(h)(7)(B)(iv).

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    The Act also excludes from the 70-day period “A

reasonable period of delay when the defendant is joined

for trial with a codefendant as to whom the time for

trial has not run and no motion for severance has been

granted.”      § 3161(h)(6).

    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interests of the public and of Stinson and Djonret in a

speedy    trial.      Stinson,     through       her   attorney,        has

provided several reasons for continuance.               First, she is

currently engaged in good-faith settlement negotiations

with the government and additional time is needed for

such negotiations to prove fruitful.             Second, the current

trial date will follow soon after the unexpectedly late

birth    of    Stinson’s     child,     and      Stinson   will     need

additional     time   to   recover     physically.         Third,       the

government and co-defendant Angelique Djonret do not

oppose continuance.        In any event, as stated, the Speedy

Trial    Act   also   excludes     from    the    70-day    period       “A



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reasonable period of delay when the defendant is joined

for trial with a codefendant as to whom the time for

trial has not run and no motion for severance has been

granted.”    § 3161(h)(6).       There has been no severance in

this case.

                                 ***

    Accordingly, it is ORDERED that:

    (1) Defendant         Tabitha       Stinson’s       motion          for

continuance (Doc. No. 141) is granted; and

    (2) The jury selection and trial, now set for January

14, 2013, is reset for defendants Stinson and Angelique

Djonret for May 20, 2013, at 10:00 a.m., in Courtroom

2FMJ of the Frank M. Johnson Jr. United States Courthouse

Complex, One Church Street, Montgomery, Alabama.

    DONE, this the 28th day of December, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
